
On the Court’s own motion, appeal, insofar as taken from the Appellate Division order that denied appellant’s motion to renew and reargue, dismissed, without costs, upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; appeal, insofar as taken from the Appellate Division judgment dismissing the CPLR article 78 proceeding, dismissed, without costs, as untimely (see, CPLR 5513 [a]). Motion, insofar as it seeks leave to appeal from the Appellate Division order that denied appellant’s motion to renew and reargue, dismissed upon the ground that such order does not finally determine the proceeding *918within the meaning of the Constitution; motion, insofar as it seeks leave to appeal from the Appellate Division judgment dismissing the CPLR article 78 proceeding, dismissed as untimely (see, CPLR 5513 [b]). Motion for poor person relief dismissed as academic.
